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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
                                                                          --Saw
                                        UNITED STATES DISTRICT COURT—uple —"cm
                                                   for the           DEC 2 9 2017
                                                                  District of Maryland
                                                                                                                          asstestsrawor
                                                                                                                           ellittorseue
                                                                   Greenbelt Division

                  HORACE LINTON BROWN
                                                                                   Case No.         ,      bta
                                                                                                        (to be filled in by the eP7 's1)ifice9

                              Plaintiffs)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
                                                                                   Jury Trial:   (check one)     ElYes          EIN0
please write "see attached" in the space and attach an additional
page with the full list of names.)



                      JAMES M. TRUSTY
                     ROD J. ROSENSTEIN
                     PETER J. MESSITTE
                             Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the full list of names. Do not include addresses here.)



                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                            (Non-Prisoner Complaint)


                                                                          NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

     Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
     other materials to the Clerk's Office with this complaint.

     In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
     forma pauperis.




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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights Non—Prisoner)


I.        The Parties to This Complaint

                     The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                         Horace Linton Brown
                           Address                                     6902 Calvin St
                                                                        Fort Washington                MD                20744
                                                                                   City                State             zip Code
                           County                                       Prince Georges
                           Telephone Number                             301-580-5846
                           E-Mail Address                               horacebrown8011@gmail.com

                     The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1
                           Name                                         James M. TrustY
                           Job or Title (jfknown)                       Assistant United States Attorney
                           Address                                      District of Maryland

                                                                                   City                State             Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                       PIndividual capacity       [?]Official capacity

                      Defendant No. 2
                            Name                                        Rod J. Rosenstein
                            Job or Title (if known)                     United States Attorney
                            Address                                     District of Maryland

                                                                                    City               State             Zip Code
                            County
                            Telephone Number
                            E-Mail Address (Vknown)

                                                                       D Individual capacity El Official capacity

                                                                                                                                    Page 2 of 6
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Pro Sc 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)


                     Defendant No. 3
                         Name                                           Peter J. Messitte
                           Job or Title (f known)                       District Court Judge
                            Address                                     District of Maryland, Greenbelt Devision

                                                                                       City                State              Z4) Code
                            County
                            Telephone Number
                            E-Mail Address (([known)

                                                                                Individual capacity   z   Official capacity


                     Defendant No. 4
                         Name
                            Job or Title (if known)
                            Address

                                                                                       City                State              Zip Code
                            County
                            Telephone Number
                            E-Mail Address (( known)

                                                                                Individual capacity 111 Official capacity

           Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

                     Are you bringing suit against (check all that apply):

                            Federal officials (a Bivens claim)

                          State or local officials (a § 1983 claim)

                     Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




                     Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?

                                                                                                                                         Page 3 of 6
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

                      Violation of the Ex Post Facto clause of Article 1, § 9 of the United States Constitution.
                      Violation of due process rights.




          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.




III. Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

                      Where did the events giving rise to your claim(s) occur?
                      The United States Attorney deliberately violated Plaintiffs constitutionally protected right against Ex Post
                      Facto laws in order to coerce him to accept a plea deal, waiving the right to trial and not having the true
                      and full understanding of the consequences of accepting the plea. At the time of the alleged criminal
                      conduct, the maximum possible sentence was 5 years imprisonment, however, the US attorney told
                      plaintiff that the maximum penalty WRS 10 years imprisonment See additional pages

                      What date and approximate time did the events giving rise to your claim(s) occur?
                      Violation of the Ex Post Facto clause of Article 1, § 9 of the United States Constitution occurred starting
                      on February 14, 2006, however, this was not known to plaintiff till early in January 2017. This started
                      when the government offered the plea to the plaintiff. The violation again took place on April 19, 2006,
                      when plaintiff was arraigned before a District Court Judge (criminal case no. PJM-06-140) who
                      conducted the rule 11 colloquy and repeated the same 10 year maximum penalty to plaintiff.

                      What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                      Was anyone else involved? Who else saw what happened?)
                      The United States Attorney deliberately gave defendant false information as to what the maximum
                      possible penalties were for the crime he was being accused of. They doubled the actual time to make
                      the plea deal seem more appealing than going to trial. Defendant was told that the maximum penalty
                      was 10 years imprisonment and they offered a plea deal of 4 years imprisonment. At that time,
                      defendant did not know this was not true, the facts are, at the time of the alleged crime, the maximum
                      possible penalty was only 5 years. Defendant wanted to proceed to trial where he could present a
                      exculpatory witness. Denied that opportunity and fear of facing up to 10 years imprisonment caused
                      defendant to accept the plea deal, based on a total lie. The government thus created an ex post facto
                      violation of the United States Constitution, and deny defendant of his due process rights.
                      This violation should have been corrected at the rule 11 colloquy, but the District Court Judge repeated
                      the same incorrect maximum possible penalty, denying defendant his constitutionally protected due
                      process rights and violated the ex post facto clause of the Constitution. See additional pages.



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         Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.
          As a result to the violations sited here, defendant received a total of 6 years and 6 months imprisonment.
          Defendant was imprisoned in October 2006, at which time he lost his employment at the Washington Metro Area
          Transit Authority (WMATA) where he had been employed for a total of 18 years. Defendant also lost his pension
          at WMATA.
          Defendant had to register as a sex offender for 15 years, even thou the plea deal never called for any such
          registration requirement and has suffered the shame of everyone knowing that he was convicted as a sex
          offender.




         Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.
          Defendant requests this court to remove defendant from the sex offender registry, nullify defendants guilty plea
          since it was only acquired via a violation of the United States constitution. Defendant also request Actual
          damages for the loss of employment from WMATA and the loss of any future pension defendant could have
          received. Defendant was making $120,000 per year at WMATA, and if he had retired at 50 years old, his pension
          would have been 49% of his salary for the rest of his life.

          Actual Damage:
          Lost salary for 10 years (starting in 2007) $1,200,000.00
          Retirement (25 years) $1,470,000.00
          Total actual damages: $2,670,000.00

          Punitive damages:
          ($1,500,000.00 per year of imprisonment) $9,750,000.00

          Total amount of actual and punitive damage requested, $12,420,000.00




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VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfiivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



                     For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:                       12/26/2017


                     Signature of Plaintiff                                     L
                     Printed Name of Plaintiff                Horace Linton Brown

                     For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Address

                                                                                            State          zip Code

                     Telephone Number
                     E-mail Address




                                                                                                                       Page 6 of 6
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                        STATEMENT OF CLAIM, continue from section C.




On February 14,2006 appellant was charged with (1) count of violation of 18 U.S.C. §2252A(a)(5)(B)
and was told that the maximum penalty for the crime was 10 years imprisonment followed by a term of
supervised release of not more than 3 years and a fine of $250,000. On February 17, 2006, appellant
was presented a plea deal with the same 10 years maximum imprisonment and offered a sentencing
range of 37 to 46 months.


On April 19, 2006, appellant was arraigned before a District Court Judge (criminal case no. PJM-06-
140) who conducted the rule 11 colloquy and repeated the same 10 year maximum penalty to appellant.
Appellant, who was advised by his counsel to accept the plea because he faced 10 years imprisonment
if he did not accepted the plea deal despite not wanting to, but wanted to proceed to trial where he
could provide an exculpatory witness. Out of fear of receiving up to 10 years imprisonment, appellant
accepted the plea which offered 37 to 46 months, which appellant thought was much less than the
possible 10 years maximum imprisonment penalty.


The plea deal, the JUDGEMENT IN A CRIMIMAL CASE and the FBI report clearly shows that the
offense occurred before enactment of the "PROTECT Act" Pub.L.No. 108-21, on April 30, 2003. The
plea stated that the November 1,2002 Sentencing Guideline apply, pursuant to U.S.S.G. §1B1.11(b)(1).
That guideline states that the maximum possible penalty for the offense is 5 years imprisonment.
However the Court and the Government said it was 10 years imprisonment.


The appellant's crime in case no. PJM-06-140, according to the information, is dated February 13,
2003, which predated the amended statute dated April 30, 2003. The possible confusion in the
Govemments view, and the court's reliance on the representations, of the proper sentencing statute to
apply was that the United States Attorneys Office did not bring an information until 2006, which was
three years and a month later than the offense. However, the fact that the government did not bring the
charge until 2006, dose not alter the time of the offense, nor when the operative sentencing statutes
should apply. Regardless, the Court should look to the date of the offense, not the date of the
Information.
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The main issue here is the FBI and the government both agree that the offense occurred and was
completed before February 13, 2003. This was before enactment of the "PROTECT Act" of April 30
2003. That "act" dramatically increased the penalty for violation of 18 U.S.C. § 2252A(a)(5)(B) from
5 years maximum imprisonment to 10 years maximum imprisonment. (See the 2002 TITLE 18—
CRIMES AND CRIMINAL PROCEDURE , and the 2003 TITLE 18—CRIMES AND CRIMINAL
PROCEDURE ) The government however told appellate that he faced a 10 year maximum
imprisonment. This plain error was not corrected by the district court during the rule 11 colloquy when
the district judge told appellant that the maximum penalty for the violation was 10 years imprisonment.
The government hereby created a ex post facto law in direct violation of the United Stated Constitution
ex post facto clause, to prevent a defendant from facing greater penalties for an infraction after it has
been committed.


The Ex Post Facto Clause of the United States Constitution prohibits laws that retroactively increase
the punishment attached to a crime. The Supreme Court long ago established that "[e]very law that
changes the punishment, and inflicts a greater punishment, than the law annexed to the crime, when
committed" is prohibited by the Ex Post Facto Clause. To violate the Ex Post Facto Clauses, the statute
in question must either (1) punish as a crime an act previously committed, which was innocent when
done; (2) make more burdensome the punishment for a crime, after its commission; or (3) deprive a
defendant of any defense available according to the law at the time when the crime was committed.
Applying the 2003 Sentencing Statute when the offense occurred in 2002 definitely make more
burdensome the punishment for a crime, after its commission, this would establish a clear violation of
the Ex Post Facto clause.

The court erred when it told appellant that he faced a maximum of 10 years imprisonment. This
severely affected appellant because he did not want to plea guilty but wanted to proceed to trial,
however due to fear of facing up to 10 years imprisonment, this caused appellant to accept the guilty
plea which offered 37 to 46 months. If at the time, appellant knew then that he truly only faced a
maximum of 5 years imprisonment, he would never have accepted a plea deal which offered almost as
much as the true maximum penalty. This false information from the District Judge and the government
severely prejudiced appellant, and appellant did not enter guilty plea with complete understanding of
the possible effects of his guilty plea.


By presenting a greater maximum penalty that was allowed at the time of offense, tainted the entire
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prosecution and induced appellant to plea guilty. It is well established under Brady v Maryland 373
U.S. 83 (1963) and its progeny that "government misrepresentation constitutes impermissible conduct."


Defendant requested to withdraw his guilty plea before sentencing and there was a hearing before the
court. During the hearing, defendant tried to introduce an exculpatory witness who at the time was 17
years old and was represented by his own counsel, and has his biological parent, however the court
appointed a guardian ad litem to the witness. The witness wanted to testify that it was he who
downloaded the pictures on defendants computer, the witnesses own counsel wanted him to testify and
made that known to the court, however the court applied the advise or the court appointed counsel, the
guardian ad litem who did not want the witness to testify because he would have incriminated himself
The witness wanted to set the record straight, and both is counsel and Father agreed that he should,
however, the Judge in the case was determined to convict defendant no matter what and without a
competency hearing declared the witness competent, but still did not allow him to testify in defendants
behalf


The Courts failure to have a competency hearing deprived defendant of his due process rights.
On that same day the court denied defendants request to withdraw his guilty plea and sentenced
defendant to 48 months imprisonment.


Defendant has been trying to withdraw his guilt plea since before he was sentenced in 2006. It was not
till 2017 that defendant found out about these ex post facto violations and the due process rights
violation. If defendant had known about these violation, they would have been included in any
argument to support why he should have been allowed to withdraw his guilty plea. Defendant relied on
the criminal process and appeals to protect him and maintain his rights contained in the United States
Constitution. The criminal process failed defendant due to the district courts insistence that the rule 11
colloquy was fair and the prosecutions lying to defendant to get him to accepting a plea that was
completely illegal. The district court completely failed to do its due diligence and accepted an illegal
plea which clearly violated the Fed.R.Crim.P. Rule 11. The court should have allowed defendant to
withdraw his guilty plea before sentencing and defendant would have the opportunity to go to trial.


At trial defendant could have informed the court that he found some pictures on his computer and
immediately erased them, this was before the FBI came to defendants house. The FBI had to use
specialized software to retrieve the images which were deleted and not accessible to defendant.
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Defendant told the FBI that he did not know how the images were paid for and no credit card was ever
linked to defendant. Defendant only signed a statement the FBI told him to write because he thought he
was going to be arrested. Defendant could not leave his home because the FBI agents would not let him
leave and they were blocking his garage where his vehicle was parked inside.


All of this and much more could have been presented to a jury if the District Judge did not violate
defendants due process rights and if the Judge did not violate the Ex Post Facto clause in the
constitution when he told defendant that he was facing 10 years. The plea should not have been
accepted and at the very least, the Judge should have seen this plain error and allowed defendant to
withdraw his guilty plea.
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                 Page 449                     TITLE 18—CRIMES AND CRIMINAL PROCEDURE                                               *2252

                      (2) with intent to promote either—                          been shipped or transported in interstate or
                               the engaging in of sexually explicit               foreign commerce, or which contains mate-
                      conduct by such minor for the purpose of                    rials which have been mailed or so shipped or
                      producing any visual depiction of such con-                 transported, by any means including by com-
                      duct; or                                                    puter, or knowingly reproduces any visual de-
                               the rendering of assistance by the                 piction for distribution in interstate or foreign
                      minor to any other person to engage in sexu-                commerce or through the mails, if—
                      ally explicit conduct for the purpose of pro-                         the producing of such visual depiction
                      ducing any visual depiction of such conduct;                  involves the use of a minor engaging in sexu-
                 shall be punished by imprisonment for not less                     ally explicit conduct; and
                                                                                            such visual depiction is of such con-
                 than 20 years or for life and by a fine under this
                 title, if any of the circumstances described in                    duct:
                 subsection (c) of this section exist.                              (3) either—
                    (b) Whoever purchases or otherwise obtains                             in the special maritime and territorial
                 custody or control of a minor, or offers to pur-                   jurisdiction of the United States, or on any
                 chase or otherwise obtain custody or control of                    land or building owned by, leased to, or oth-
                 a minor either—                                                    erwise used by or under the control of the
                          with knowledge that, as a consequence of                  Government of the United States, or in the
                    the purchase or obtaining of custody, the                       Indian country as defined in section 1151 of
                    minor will be portrayed in a visual depiction                   this title, knowingly sells or possesses with
                    engaging in, or assisting another person to en-                 intent to sell any visual depiction; or
                    gage in, sexually explicit conduct; or                                  knowingly sells or possesses with in-
                          with intent to promote either—                            tent to sell any visual depiction that has
                              the engaging in of sexually explicit                  been mailed, or has been shipped or trans-
                      conduct by such minor for the purpose of                      ported in interstate or foreign commerce, or
                      producing any visual depiction of such con-                   which was produced using materials which
                      duct; or                                                      have been mailed or so shipped or trans-
                               the rendering of assistance by the                   ported, by any means, including by com-
                      minor to any other person to engage in sexu-                  puter, if-
                      ally explicit conduct for the purpose of pro-                      0 the producing of such visual depiction
                      ducing any visual depiction of such conduct;                     involves the use of a minor engaging in
                                                                                       sexually explicit conduct; and
                 shall be punished by imprisonment for not less                          (if) such visual depiction is of such con-
                 than 20 years or for life and by a fine under this                    duct; or
                 title, if any of the circumstances described in
                 subsection (c) of this section exist.                              (4) either—
                    (c) The circumstances referred to in sub-                              in the special maritime and territorial
                 sections (a) and (b) are that—                                      jurisdiction of the United States, or on any
                           in the course of the conduct described in                land or building owned by, leased to, or oth-
                    such subsections the minor or the actor trav-                   erwise used by or under the control of the
                    eled in or was transported in interstate or for-                Government of the United States, or in the
                    eign commerce:                                                  Indian country as defined in section 1151 of
                           any offer described in such subsections                  this title, knowingly possesses 1 or more
                    was communicated or transported in inter-                       books, magazines, periodicals, films, video
                    state or foreign commerce by any means in-                      tapes, or other matter which contain any
                    cluding by computer or mail; or                                 visual depiction; or
                          the conduct described in such subsections                         knowingly possesses 1 or more books,
                    took place in any territory or possession of                    magazines, periodicals, films, video tapes, or
                    the United States.                                              other matter which contain any visual de-
                                                                                    piction that has been mailed, or has been
                 (Added Pub. L. 100-690, title VII. §7512(a). Nov.                  shipped or transported in interstate or for-
                 18, 1988, 102 Stat. 4486.)                                         eign commerce, or which was produced using
                          SECTION REFERRED TO IN OTHER SECTIONS                     materials which have been mailed or so
                    This section is referred to in sections 1961. 2253, 2254.       shipped or transported, by any means includ-
                 2255 3486 of this title: title 8 section 1101; title 42 sec-       ing by computer, if—
                 tions 2000aa. 13032. 14135a.                                                the producing of such visual depiction
                                                                                       involves the use of a minor engaging in
                 *2252. Certain activities relating to material in-                    sexually explicit conduct; and
                    volving the sexual exploitation of minors                                 such visual depiction is of such con-
                   (a) Any person who—                                                 duct;
                     (1) knowingly transports or ships in inter-                shall be punished as provided in subsection (b) of
                   state or foreign commerce by any means in-                   this section.
                   cluding by computer or mails, any visual de-                   (b)(1) Whoever violates, or attempts or con-
                   piction, if—                                                 spires to violate, paragraphs' (1), (2), or (3) of
                            the producing of such visual depiction              subsection (a) shall be fined under this title or
                     involves the use of a minor engaging in sexu-              imprisoned not more than 15 years, or both, but
                     ally explicit conduct; and                                 if such person has a prior conviction under this
                            such visual depiction is of such con-               chapter, chapter 109A, or chapter 117, or under
                     duct;                                                      the laws of any State relating to aggravated
                     (2) knowingly receives, or distributes, any
                   visual depiction that has been mailed, or has                 'So In original. Probably should be -paragraph"




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                   2252                       TITLE 18—CRIMES AND CRIMINAL PROCEDURE                                              Page 450

                 sexual abuse, sexual abuse, or abusive sexual                  be fined under this title or imprisoned not more than
                 conduct involving a minor or ward, or the pro-                 ten years, or both, but, if such person has a prior con-
                 duction, possession, receipt, mailing, sale, dis-              viction under this chapter or chapter 109A, such person
                                                                                shall be fined under this title and imprisoned for not
                 tribution, shipment, or transportation of child                less than five years nor more than fifteen years.
                 pornography, such person shall be fined under                     "(2) Whoever violates, or attempts or conspires to
                 this title and imprisoned for not less than 5                  violate, paragraph (4) of subsection (a) shall be fined
                 years nor more than 30 years.                                  under this title or imprisoned for not more than five
                   (2) Whoever violates, or attempts or conspires               years, or both."
                 to violate, paragraph (4) of subsection (a) shall                 1994—Subsec. (a)(3)(B). Pub. L. 103-322, §330010(8), sub-
                 be fined under this title or imprisoned not more               stituted "materials" for "materails" in introductory
                                                                                provisions.
                 than 5 years, or both, but if such person has a                   Subsec. (b)(1). Pub. L. 103-322, §160001(5), (e), inserted
                 prior conviction under this chapter, chapter                       or attempts or conspires to violate," after "vio-
                 109A, or chapter 117, or under the laws of any                 lates" and "substituted "conviction under this chapter
                 State relating to aggravated sexual abuse, sex-                or chapter 109A" for "conviction under this section".
                 ual abuse, or abusive sexual conduct involving a                  Subsec. (b)(2). Pub. L. 103-322. §160001(e). inserted
                 minor or ward, or the production, possession, re-              ". or attempts or conspires to violate," after "vio-
                                                                                lates".
                 ceipt, mailing, sale, distribution, shipment, or                  1990—Subsec. (a). Pub. L. 101-647, §323(a), (b), struck
                 transportation of child pornography, such per-                 out "or" at end of par. (1), substituted "that has been
                 son shall be fined under this title and impris-                mailed, or has been shipped or transported In interstate
                 oned for not less than 2 years nor more than 10                or foreign commerce, or which contains materials
                 years.                                                         which have been mailed or so shipped or transported,
                   (c) AFFIRMATIVE DEFENSE.—It shall be an af-                  by any means including by computer," for "that has
                 firmative defense to a charge of violating para-               been transported or shipped in interstate or foreign
                                                                                commerce by any means including by computer or
                 graph (4) of subsection (a) that the defendant—                mailed" in par. (2), struck out at end "shall be pun-
                         possessed less than three matters con-                 ished as provided in subsection (b) of this section.", and
                   taining any visual depiction proscribed by                   added pars. (3) and (4) and concluding provisions.
                   that paragraph; and                                             Subsec. (b). Pub. L. 101-647, §323(a)(2), added subsec.
                         promptly and in good faith, and without                (b) and struck out former suttee°. (b) which read as fol-
                   retaining or allowing any person, other than a               lows: "Any individual who violates this section shall be
                   law enforcement agency, to access any visual                 fined not more than $100,000, or imprisoned not more
                                                                                than 10 years, or both, but, if such individual has a
                   depiction or copy thereof—                                   prior conviction under this section. such individual
                            took reasonable steps to destroy each               shall be fined not more than $200,000, or imprisoned not
                     such visual depiction; or                                  less than five years nor more than 15 years, or both.
                            reported the matter to a law enforce-               Any organization which violates this section shall be
                     ment agency and afforded that agency ac-                   fined not more than $250,000."
                     cess to each such visual depiction.                           1988—Subsec. (a)(1). (2). Pub. L. 100-690 inserted "by
                                                                                any means including by computer" after -commerce"
                 (Added Pub. L. 95-225, §2(a), Feb. 6, 1978, 92 Stat.           in introductory provisions.
                 7; amended Pub. L. 98-292. §4, May 21. 1984, 98                   1986—Subsec. (b). Pub. L. 99-500 and Pub. L. 99-591
                 Stat. 204; Pub. L. 99-500, §101(b) [title VII.                 substituted "five years" for "two years".
                 §704(b)], Oct. 18. 1986, 100 Stat. 1783-39, 1783-75,              1984—Subsec. (a)(1). Pub. L. 98-292, §40). (3), (4), sub-
                                                                                stituted "any visual depiction" for "for the purpose of
                 and Pub. L. 99-591. §101(b) [title VII, §704(b)].              sale or distribution for sale, any obscene visual or print
                 Oct. 30, 1986, 100 Stat. 3341-39, 3341-75; Pub. L.             medium" in provisions preceding subpar. (A).
                 100-690, title VII, §7511(b), Nov. 18. 1988, 102 Stat.            Subsec. ( 51(11(A), Pub. L. 98-292. §4(4). substituted
                 4485; Pub, L. 101-647. title III, §323(a). (b). Nov.           -visual depiction" for "visual or print medium".
                 29, 1990, 104 Stat. 4818, 4819; Pub. L. 103-322, title            Subset:. (a)(1)(B). Pub. L. 98-292. §9(4). (5), substituted
                 XVI, §160001(d), (e), title XXXII', §330010(8),                -visual depiction is or for "visual or print medium de-
                 Sept. 13, 1994, 108 Stat, 2037, 2143; Pub. L. 104-208,         picts".
                                                                                   Subsec. (a )(2). Pub. L. 98-292, §4(2)-(4), (6). (7), sub-
                 div. A, title I, §101(a) [title I, §121[5]], Sept. 30,         stituted -, or distributes, any visual depiction" for
                 1996, 110 Stat. 3009, 3009-26, 3009-30; Pub. L.                -for the purpose of sale or distribution for sale, or
                 105-314, title II, §§202(a), 203(a), Oct. 30, 1998, 112         knowingly sells or distributes for sale, any obscene vis-
                 Stat. 2977, 2978.)                                             ual or print medium" and inserted "or knowingly re-
                                                                                produces any visual depiction for distribution in inter-
                                        ConincATIon                             state or foreign commerce or through the mails" in
                   Pub, L. 99-591 Is a corrected version of Pub. L. 99-500      provisions preceding subpar. (A).
                                                                                   Subsec. (a)(2)(A). Pub. L. 98-292, §4(4), substituted
                                       Ammmisrgyrs                              "visual depiction" for "visual or print medium".
                                                                                   Subsec. (a)(2)(B). Pub. L. 98-292. §4(4), (5), substituted
                   1998—Subsec. (a)(4)(A), (l3). Pub. L. 105-314, §203(a)(1).   "visual depiction is of" for "visual or print medium de-
                 substituted "1 or more- for "3 or more".                       picts".
                   Subsec. (b). Pub. L. 105-314, §202(a), substituted              Subsec. (b). Pub. L. 98-292. §4(8)-(11). substituted "in-
                 ". chapter 109A. or chapter 117" for "or chapter 109A"         dividual" for "person" in three places, "$100,000" for
                 in pars. (1) and (2) and substituted "aggravated sexual        "$10.000". and "$200,000" for "$15,000". and inserted
                 abuse, sexual abuse, or abusive sexual conduct involv-         "Any organization which violates this section shall be
                 ing a minor or ward, or the production, possession, re-         fined not more than $250,000."
                 ceipt, mailing, sale, distribution, shipment, or trans-
                 portation of child pornography" for "the possession of           CONFIRMATION OF INTENT OF CONGRESS IN ENACTING
                 child pornography" in par. (2).                                          SECTIONS 2252 AND 2256 OF THIS TITLE
                   Subsec. (c). Pub. L. 105-314, §203(a)(2). added subsec.        Section 160003(a) of Pub. L. 103-322 provided that:
                 (c).                                                             "(a) DECLARATION—The Congress declares that in en-
                   1996—Subsec. (b). Pub. L. 104-208 added subsec. (b) and      acting sections 2252 and 2256 of title 18, United States
                 struck out former subsec. (b) which read as follows:           Code, It was and is the intent of Congress that-
                   "(b)(1) Whoever violates, or attempts or conspires to            -a) the scope of 'exhibition of the genitals or pubic
                 violate, paragraph (1). (2). or (3) of subsection (a) shall      area' in section 2256(2)(E), in the definition of 'sexu-




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under section 522 of Title 28, Judiciary and Judicial                                      AMENDMENTS
Procedure.                                                         2003—Subsecs. (a), (b). Pub. L. 103-21 substituted "30
        SECTION REFERRED TO IN OTHER SECTIONS                    Years" for "20 years" in concluding provisions.
  This section is referred to in sections 1961. 2253. 2259,              SECTION REFERRED TO IN OTHER SECTIONS
2255, 2516, 3192, 3986. 3559, 3583 of this title; title 8 sec-     This section is referred to in sections 1961, 2253, 2254,
tion 1101; title 12 sections 2000aa, 13032, 19071, 14135a.       2255, 2516, 3192, 3986, 3559, 3583 of this title; title 8 sec-
42251A. Selling or buying of children                            tion 1101: title 42 sections 2000aa, 13032, 14135a.

  (a) Any parent, legal guardian, or other person                 2252. Certain activities relating to material in-
having custody or control of a minor who sells                      volving the sexual exploitation of minors
or otherwise transfers custody or control of such                  (a) Any person who—
minor, or offers to sell or otherwise transfer cus-                  (1) knowingly transports or ships in inter-
tody of such minor either—                                         state or foreign commerce by any means in-
        with knowledge that, as a consequence of                   cluding by computer or mails, any visual de-
  the sale or transfer, the minor will be por-                     piction, if—
  trayed in a visual depiction engaging in, or as-                          the producing of such visual depiction
  sisting another person to engage in, sexually                      involves the use of a minor engaging in sexu-
  explicit conduct; or                                               ally explicit conduct; and
        with intent to promote either—                                      such visual depiction is of such con-
           the engaging in of sexually explicit                      duct;
    conduct by such minor for the purpose of
    producing any visual depiction of such con-                      (2) knowingly receives, or distributes, any
    duct; or                                                       visual depiction that has been mailed, or has
           the rendering of assistance by the                      been shipped or transported in interstate or
    minor to any other person to engage in sexu-                   foreign commerce, or which contains mate-
                                                                   rials which have been mailed or so shipped or
    ally explicit conduct for the purpose of pro-
    ducing any visual depiction of such conduct;                   transported, by any means including by com-
                                                                   puter, or knowingly reproduces any visual de-
shall be punished by imprisonment for not less                     piction for distribution in interstate or foreign
than 30 years or for life and by a fine under this                 commerce or through the mails, if—
title, if any of the circumstances described in                             the producing of such visual depiction
subsection (c) of this section exist.                                involves the use of a minor engaging in sexu-
  (b) Whoever purchases or otherwise obtains                         ally explicit conduct; and
custody or control of a minor, or offers to pur-                            such visual depiction is of such con-
chase or otherwise obtain custody or control of                      duct;
a minor either—                                                      (3) either—
         with knowledge that, as a consequence of                           in the special maritime and territorial
   the purchase or obtaining of custody, the                          jurisdiction of the United States, or on any
  minor will be portrayed in a visual depiction                      land or building owned by. leased to, or
   engaging in, or assisting another person to en-                   otherwise used by or under the control of the
  gage in, sexually explicit conduct; or                             Government of the United States, or in the
         with intent to promote either—                              Indian country as defined in section 1151 of
            the engaging in of sexually explicit                     this title, knowingly sells or possesses with
     conduct by such minor for the purpose of
                                                                     Intent to sell any visual depiction; or
     producing any visual depiction of such con-                             knowingly sells or possesses with in-
     duct; or                                                        tent to sell any visual depiction that has
            the rendering of assistance by the                       been mailed, or has been shipped or trans-
     minor to any other person to engage in sexu-                    ported in interstate or foreign commerce, or
     ally explicit conduct for the purpose of pro-                   which was produced using materials which
     ducing any visual depiction of such conduct;                    have been mailed or so shipped or trans-
shall be punished by imprisonment for not less                       ported, by any means, including by com-
than 30 years or for life and by a fine under this                   puter, if—
title, if any of the circumstances described in                               the producing of such visual depiction
subsection (c) of this section exist.                                   involves the use of a minor engaging in
  (c) The circumstances referred to in sub-                             sexually explicit conduct; and
sections (a) and (b) are that—                                                 such visual depiction is of such con-
         in the course of the conduct described in                      duct; or
  such subsections the minor or the actor trav-                       (4) either—
   eled in or was transported in interstate or for-                          in the special maritime and territorial
   eign commerce;                                                     jurisdiction of the United States, or on any
         any offer described in such subsections                      land or building owned by, leased to, or
   was communicated or transported in inter-                          otherwise used by or under the control of the
  state or foreign commerce by any means in-                          Government of the United States, or in the
   cluding by computer or mail; or                                    Indian country as defined in section 1151 of
         the conduct described in such subsections                    this title, knowingly possesses 1 or more
   took place in any territory or possession of                       books, magazines, periodicals, films, video
   the United States.                                                 tapes, or other matter which contain any
(Added Pub. L. 100-690, title VII, §7512(a), Nov.                     visual depiction; or
18, 1988, 102 Stat. 4486; amended Pub. L. 108-21,                            knowingly possesses 1 or more books,
title I, §103(b)(1)(B), Apr. 30, 2003, 117 Stat. 653.)                magazines, periodicals, films, video tapes, or
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     other matter which contain any visual de-            4485; Pub. L. 101-647, title III, §323(a), (b), Nov.
     piction that has been mailed, or has been               1990, 104 Stat. 4818, 4819; Pub. L. 103-322, title
     shipped or transported in interstate or for-         XVI, §160001(d), (e), title XXXIII, §330010(8),
     eign commerce, or which was produced using           Sept. 13. 1994, 108 Stat. 2037. 2143; Pub. L. 104-208,
     materials which have been mailed or so               div. A, title I, §101(a) [title I, §12115E, Sept. 30,
     shipped or transported, by any means includ-         1996. 110 Stat. 3009. 3009-26, 3009-30; Pub. L.
     ing by computer, if-                                 105-314, title II, §§202(a), 203(a), Oct. 30. 1998, 112
         (I) the producing of such visual depiction       Stat. 2977. 2978; Pub. L. 108-21, title I,
       involves the use of a minor engaging in            §103(a)(1)(B). (C), (b)(1)(0), (D), title V. §507, Apr.
       sexually explicit conduct; and                        2003, 117 Stat. 652, 653, 683.)
         (ii) such visual depiction is of such con-                              ComFICATION
       duct;
                                                            Pub. L. 99-591 is a corrected version of Pub. L. 99-500.
shall be punished as provided in subsection (b) of
this section.                                                                    AMENDMENTS
  (b)(1) Whoever violates, or attempts or con-               2003-Subsec. (b)(1). Pub. L. 1013-21, §507, Inserted
spires to violate. paragraphs1 (1), (2), or (3) of        "chapter 71," before "chapter 109A," and "or under sec-
subsection (a) shall be fined under this title and        tion 920 of title 10 (article 120 of the Uniform Code of
imprisoned not less than 5 years and not more             Military Justice)," before "or under the laws".
than 20 years, but if such person has a prior con-           Pub. L. 108-21, §103(a)(1)(B). (C), substituted "and im-
viction under this chapter, chapter 71, chapter           prisoned not less than 5 years and" for "or impris-
                                                          oned". -20 years" for "15 years", "40 years" for "30
109A, or chapter 117, or under section 920 of title       years", and "15 years" for "5 years" and struck out "or
10 (article 120 of the Uniform Code of Military           both." before "but if such person has a prior".
Justice), or under the laws of any State relating            Subsec. (b)(2). Pub. L. 108-21, §507, inserted -chapter
to aggravated sexual abuse, sexual abuse, or              71," before "chapter 109A," and "or under section 920 of
abusive sexual conduct involving a minor or               title 10 (article 120 of the Uniform Code of Military Jus-
ward, or the production, possession, receipt,             tice)," before "or under the laws".
mailing, sale, distribution, shipment, or trans-             Pub. L. 108-21, §103(a)(1)(C), (D). substituted "more
portation of child pornography, such person               than 10 years" for "more than 5 years", "less than 10
                                                          years" for "less than 2 years", and "20 years" for "10
shall be fined under this title and imprisoned for        years".
not less than 15 years nor more than 40 years.               1998-Subsec. (a)(4)(A). (B). Pub. L. 105-314, §203(a)(1),
  (2) Whoever violates, or attempts or conspires          substituted "1 or more" for "3 or more".
to violate. paragraph (4) of subsection (a) shall            Subsec. (b). Pub. L. 105-319, §202(a), substituted
be fined under this title or imprisoned not more              chapter 109A, or chapter 117" for "or chapter 109A"
than 10 years, Or both, but if such person has a          In pars. (1) and (2) and substituted "aggravated sexual
prior conviction under this chapter, chapter 71,          abuse, sexual abuse, or abusive sexual conduct Involv-
chapter 109A. or chapter 117, or under section 920        ing a minor or ward, or the production, possession, re-
                                                          ceipt, mailing, sale, distribution. shipment, or trans-
of title 10 (article 120 of the Uniform Code of           portation of child pornography" for "the possession of
Military Justice), or under the laws of any State         child pornography" in par. (2).
relating to aggravated sexual abuse, sexual                  Subsec. (c). Pub. L. 105-319, §203(a)(2), added subsec.
abuse, or abusive sexual conduct involving a              (c).
minor or ward, or the production, possession, re-            1996-Subsec. (b). Pub. L. 104-208 added subsea. (b) and
ceipt, mailing, sale, distribution, shipment, or          struck out former subsec. (b) which read as follows:
transportation of child pornography, such per-               -(bH1) Whoever violates, or attempts or conspires to
son shall be fined under this title and impris-           violate. paragraph (1), (2), or (3) of subsection (a) shall
                                                          be fined under this title or imprisoned not more than
oned for not less than 10 years nor more than 20          ten years, or both, but, if such person has a prior con-
years.                                                    viction under this chapter or chapter 109A, such person
  (c) AFFIRMATIVE DEFENSE.-It shall be an af-             shall be fined under this title and imprisoned for not
firmative defense to a charge of violating para-          less than five years nor more than fifteen years.
graph (4) of subsection (a) that the defendant-              "(2) Whoever violates, or attempts or conspires to
         possessed less than three matters con-           violate. paragraph (4) of subsection (a) shall be fined
   taining any visual depiction proscribed by             under this title or imprisoned for not more than five
   that paragraph; and                                    years, or both."
         promptly and in good faith, and without             1994-Subsec. (a)(3)(B). Pub. L. 103-322, §330010(8), sub-
                                                          stituted "materials" for "materails" in introductory
   retaining or allowing any person, other than a         provisions.
   law enforcement agency, to access any visual              Subsec. (b)(1). Pub. L. 103-322, §160001(d), (e), inserted
  depiction or copy thereof-                                  or attempts or conspires to violate," after -vio-
            took reasonable steps to destroy each         lates" and substituted "conviction under this chapter
     such visual depiction; or                            or chapter 109A" for "conviction under this section".
            reported the matter to a law enforce-            Subsea. (b)(2). Pub. L. 103-322, §160001(e), inserted
     ment agency and afforded that agency ac-                 or attempts or conspires to violate," after "vio-
     cess to each such visual depiction.                  lates".
                                                             1990-Subsec. (a). Pub. L. 101-647, §323(a). (b), struck
(Added Pub. L. 95-225, §2(a), Feb. 6, 1978, 92 Stat.      out "or- at end of par. (1), substituted "that has been
7; amended Pub. L. 98-292, §4, May 21, 1984, 98           mailed, or has been shipped or transported in interstate
Stat. 204; Pub. L. 99-500, §101(b) [title VII,            or foreign commerce, or which contains materials
§704(b)], Oct. 18, 1986, 100 Stat. 1783-39, 1783-75,      which have been mailed or so shipped or transported,
and Pub. L. 99-591, §10I(b) [title VII, § 704(b)].        by any means including by computer." for "that has
Oct. 30. 1986, 100 Stat. 3341-39, 3341-75; Pub. L.        been transported or shipped in interstate or foreign
                                                          commerce by any means including by computer or
100-690, title vII, § 7511(b), Nov. 18, 1988, 102 Stat.   mailed" in par. (2), struck out at end "shall be pun-
                                                           ished as provided in subsection (b) of this section.", and
  'So in original. Probably should be "Paragraph -.       added pars. (3) and (4) and concluding provisions.
